       Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 1 of 11




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

 FAIR FIGHT ACTION, et al.,

       Plaintiffs

 v.                                            Civil Action File
 BRAD RAFFENSPERGER, in his                    No. 1:18-cv-05391-SCJ
 official Capacity as Secretary of State of
 Georgia; et al.,

       Defendants.


      DEFENDANTS’ STATUS REPORT REGARDING DISCOVERY

      Defendants Secretary Raffensperger, the State Election Board, and

State Election Board Members Seth Harp, Rebecca Sullivan, and David

Worley submit this report to the Court, in accordance with the Court’s

January 30, 2020, Order requiring weekly status reports.


I.    Defendants’ ongoing document review and Plaintiffs’ failure to
      identify declarants.

      Since the January 30, 2020, Discovery Hearing before the Court,

Defendants have continued their ongoing review of documents responsive to

Plaintiffs’ discovery requests and search terms. As the Court is aware,

Plaintiffs’ search terms produced a large number of documents when applied

to the custodians identified by Plaintiffs, and Defendants have engaged



                                       -1-
       Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 2 of 11




twenty-four additional attorneys to expedite this review. Defendants believe

we are still on track to complete productions, on a rolling basis, by

February 28, 2020.


      A.    Defendants’ recent productions.

      Shortly before the January 30, 2020 Hearing, Defendants provided

Productions 25, 26, and 27 to Plaintiffs’ counsel. Additionally, Defendants

provided Production 28 to Plaintiffs’ counsel on January 31, 2020.1

A description of these productions and corresponding Bates Numbers are

provided below.

           Production 25 (Corrected): This was a correction to

            Defendants’ January 14, 2020 Production. These documents

            were located on the internal servers of the Secretary’s Office and

            identified as training materials. This production replaces

            Defendants’ original Production 25 in its entirety and contains




1 Plaintiffs encountered difficulty downloading Productions 25 and 26 when
sent by electronic means. Presumably the sheer size of the documents was at
least partly to blame. Accordingly, those Productions were provided again via
a hard drive shipped through FedEx to Plaintiffs’ Discovery Vendor.
Consistent with discussions with Plaintiffs’ counsel, Defendants plan to
provide future productions in a similar manner.

                                       -2-
Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 3 of 11




     documents Bates Numbered: STATE-DEFENDANTS-00095637–

     STATE-DEFENDANTS-00147037.

    Production 26 (Correction): This was a correction to

     Defendants’ January 17, 2020 Production. These documents are

     responsive to Plaintiffs’ search terms and were re-produced to

     align Bates Numbers with Defendants’ Production 25 (Corrected).

     This production replaced Defendants’ original Production 26 and

     contains documents Bates Numbered STATE-DEFENDANTS-

     00147038–STATE-DEFENDANTS-00154045.

    Production 27: This production is a new production that

     contains certain voter lists first requested by Plaintiffs in a

     January 17, 2020 email. Specifically, these documents are

     spreadsheets of the Active and Pending Voter Lists in each of

     Georgia’s 159 counties. These documents are Bates Numbered

     STATE-DEFENDANTS-00147038–STATE-DEFENDANTS-

     00154204.

    Production 28: This production is a new production of

     documents responsive to Plaintiffs’ search terms and also

     contains an additional document responsive to Plaintiffs’




                                -3-
         Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 4 of 11




              January 17, 2020 email request.2 These documents are Bates

              Numbered STATE-DEFENDANTS-00154205–STATE-

              DEFENDANTS-00234914.


        B.    Defendants’ forthcoming productions.

        Defendants anticipate providing another production of documents

responsive to Plaintiffs’ search terms as soon as this afternoon. Consistent

with Defendants’ representation to the Court at the January 30, 2020

Hearing, Defendants will continue making rolling productions until all

documents captured by Plaintiffs’ search terms have been reviewed.

Defendants will also be providing additional “complaint account” documents

identified after resolving the previous indexing issue. Finally, Defendants

have endeavored to resolve Plaintiffs’ metadata issues in these and future

productions.


        C.    Plaintiffs’ failure to identify declarants.

        Early in this case, Defendants requested—via interrogatories and

requests for production of documents—Plaintiffs identify all individuals

supporting their claims of voter disenfranchisement or suppression.

Defendants further informed Plaintiffs of their intent to depose any such


2   This document is separately identified as Production 28 (Supplemental).

                                         -4-
         Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 5 of 11




individuals. In light of this intention, the parties agreed that Plaintiffs’

counsel would take the lead on contacting individuals and organizing/hosting

these depositions rather than Defendants issuing subpoenas. Unfortunately,

Plaintiffs’ list of declarants continues to expand and scheduling of depositions

has slowed as of late.

        On July 11, 2019, Plaintiffs represented that they possessed, and had

produced to Defendants, approximately 200 declarations (or affidavits)

claiming voter disenfranchisement.3 And Plaintiffs disclosed approximately

259 declarants in their initial disclosures and supplemental initial

disclosures. Since that time, however, Plaintiffs have continued to produce

additional declarations, providing them on October 18, 2019, November 7,

2019, November 13, 2019, November 15, 2019, November 19, 2019, November

26, 2019, December 5, 2019, and, most recently, on January 21, 2020.

Defendants believe they have received approximately 316 declarations at this

point. However, that number is difficult to quantify since there are multiple

instances of duplicate declarations and because of the ongoing identification

and production of those declarations.




3   See Transcript of July 11, 2019, Motions Hearing, Tr. 32:16–21.

                                        -5-
       Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 6 of 11




      Nonetheless, in an effort to expedite discovery, on December 3, 2019,4

Defendants identified 75 individuals (whose declarations Defendants had

received and who had not yet been deposed) that Defendants wished to

prioritize for deposition scheduling, without waiving the ability to depose

others. And, as of today, Defendants have conducted depositions of 103

declarants. Scheduling of these depositions seems to have ground to a halt

since Defendants’ priority identification.5 A total of 32 declarants have been

scheduled for depositions since Defendants’ Letter was sent to Plaintiffs’

counsel, 18 of whom were priority declarants. However, only 24 of those 32

declarants were actually deposed, due in large part to declarants simply not

appearing for their scheduled depositions, and of the 24 declarants whose

depositions were taken 14 were identified as priorities.

      Because of the continued expansion of Plaintiffs’ identified declarants,

it is apparent that Plaintiffs have either not yet located the declarations of

individuals that ostensibly motivated this case or are continuing to elicit new

declarations more than a year after the 2018 election. Regardless, the

continued production of new declarations must be brought to an end in order


4A true and accurate copy of this Letter is attached as Exhibit 1.
5Yesterday, February 6, 2020, Defendants received an email from Plaintiffs’
counsel seeking to schedule two additional declarant depositions—one of
whom was identified as a priority by Defendants.

                                       -6-
       Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 7 of 11




for Defendants to be prepared for trial. Accordingly, as this Court considers

discovery issues, it should limit the voter testimony Plaintiffs may rely upon

to those voters whose declarations have been produced as of today and

further require the Plaintiffs to produce a final list identifying all such

declarants.6


II.   Status of Expert Discovery

      Since the January 30, 2020 Hearing, Defendants have filed one expert

report and the parties have agreed to deposition dates for several of

Plaintiffs’ experts.


      A.       Defendants’ Experts

      On February 3, 2020, Defendants filed the report of Dr. Brunell

responding to Dr. Smith’s report on the voter-registration database.

[Doc. 211]. There are currently no other pending reports from Defendants.

After Plaintiffs file additional expert reports, Defendants will notify the

Court and Plaintiffs about any additional responsive reports.




6Plaintiffs produced a summary list of declarants on or about August 22,
2019, and subsequently produced updated versions of that document on
September 15 and September 26, 2019. However, Defendants are aware of
approximately 38 additional declarations produced since that time.

                                       -7-
       Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 8 of 11




      B.       Plaintiffs’ Experts

      Defendants have not received reports from the following experts

identified by Plaintiffs:

              Dr. Alex Halderman;

              Dr. Michael Herron;

              Mr. John Lesner;

              Dr. Kenneth Mayer;

              Dr. Peyton McCrary; and

              Dr. Michael McDonald.

As was represented to the Court on January 30, 2020, Defendants have now

deposed four of Plaintiffs’ twelve identified experts: Drs. Brown-Dean, Jones,

Minnite, and Smith. See [Doc. 218-1].

      With the understanding that relevant expert reports will be filed by

February 17, 2020, the parties have scheduled the following expert

depositions:

              Dr. Halderman in Michigan on February 25; and

              Dr. Graves in Boston, Massachusetts on February 25.

Plaintiffs have also proposed dates for the following experts and Defendants

are working to confirm counsel’s availability and logistics:

              Dr. Herron in New York City, New York on February 26, 2020;


                                         -8-
Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 9 of 11




    Dr. McDonald in Atlanta on February 28, 2020; and

    Dr. Mayer in Madison Wisconsin on February 24, 26, or 28, 2020.

Respectfully submitted this 7th day of February, 2020.

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                               -9-
Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 10 of 11




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                              -10-
      Case 1:18-cv-05391-SCJ Document 221 Filed 02/07/20 Page 11 of 11




                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

DEFENDANTS’ STATUS REPORT REGARDING DISCOVERY was

prepared double-spaced in 13-point Century Schoolbook font, approved by the

Court in Local Rule 5.1(C).



                              /s/Josh Belinfante
                              Josh Belinfante




                                     -11-
